
696 N.W.2d 709 (2005)
GEETER
v.
PAROLE BD.
No. 128584.
Supreme Court of Michigan.
May 17, 2005.
SC: 128584, COA: 257815.
On order of the Chief Justice, the motion to waive fees is considered and it is DENIED because MCL 600.2963; MSA 27A.2963 requires that a prisoner pursuing a civil action be liable for filing fees.
Within 21 days of the certification of this order, plaintiff shall pay to the Clerk of the Court the initial partial filing fee of $23.00, shall submit a copy of this order with the payment, and shall refile the copy of the pleadings which is being returned with this order. Failure to comply with this order shall result in the appeal not being filed in this Court.
If plaintiff timely files the partial fee and refiles the pleadings, monthly payments shall be made to the Department of Corrections in an amount of 50 percent of the deposits made to plaintiff's account until the payments equal the balance due of $352.00. This amount shall then be remitted to this Court.
Pursuant to MCL 600.2963(8) plaintiff shall not file further appeals in this Court until the entry fee in this case is paid in full.
The Clerk of the Court shall furnish two copies of this order to plaintiff and return plaintiff's pleadings with this order.
